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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION (DAYTON)

MICHAEL PENNESSI, et al.,                      :
                                               :
               Plaintiffs,                     :
                                               :
       v.                                      :      Case No. 3:17-cv-286
                                               :
HANGER PROSTHETICS AND                         :
  ORTHOTICS, INC.,                             :
                                               :
               Defendant.                      :

            DEFENDANT’S MEMORANDUM IN OPPOSITION TO PLAINTIFFS’
                    MOTION FOR REFERRAL TO MEDIATION

       Defendant Hanger Prosthetics and Orthotics, Inc. (“Hanger” or the “Company”) opposes

Plaintiffs’ Motion for Referral to Mediation and does not consent to mediation at this time.

       Mediation is premature. Although the parties have exchanged written discovery, there

are deficiencies with Plaintiffs’ written discovery responses that need to be addressed. After

those deficiencies are addressed, Hanger will want to complete Plaintiffs’ depositions before

determining whether mediation or other alternative dispute resolution would be worthwhile in

this case. Mediation is therefore not appropriate at this time. For this reason alone, Plaintiff’s

Motion should be denied.

       Plaintiffs’ Motion should also be denied because they failed to comply with S.D. Ohio

Local Rule 7.3 before filing it. Under Rule 7.3(b), a party who files any type of motion to which

other parties might reasonably give their consent must comply with the procedures set forth in

Rule 7.3(a). Rule 7.3(a) requires attempted consultation with an opposing party before a motion

is filed and a certification that such consultation has occurred or was attempted in good faith.

Plaintiffs did not attempt to consult with Defendant before filing their Motion and did not certify
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in their Motion that any such consultation was attempted. For this additional reason, Plaintiffs’

Motion should be dismissed.

       Based on the foregoing, Hanger respectfully requests that the Court deny Plaintiff’s

Motion for Referral to Mediation.

                                                    Respectfully submitted,


                                                    /s/ Chad J. Kaldor
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                                                    Attorneys for Defendant Hanger Prosthetics
                                                        and Orthotics, Inc.




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                                   CERTIFICATE OF SERVICE

         I hereby certify that, on this 16th day of January, 2018, the foregoing Defendant’s

Memorandum in Opposition to Plaintiffs’ Motion for Referral to Mediation was filed via the

Court’s electronic filing system. Notice of filing will be performed by the Court’s electronic

filing system, and Parties may access the document through the Court’s electronic filing system.




                                                    /s/ Chad J. Kaldor
                                                    An Attorney for Defendant
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1/16/18




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